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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 BARRY LEVINE,

              Plaintiff,
       v.                                          CIVIL ACTION NO.
 AMERICAN MENSA, LTD. and                          1:19-cv-04023-JPB
 JOHN DOES 1-5,

              Defendants.

                                       ORDER

      This matter came before the Court on Plaintiff Barry Levine’s (“Levine”)

Motion to Reopen Case and for Reconsideration of Request to Transfer Case

(“Motion”) (ECF No. 43). This action was previously dismissed on August 20,

2020, for lack of personal jurisdiction over Defendant American Mensa, Ltd. In

the same Order, the Court also denied Levine’s request to transfer the case to

Texas because he did not provide any argument or citation of authority in support

of his request.

       In the instant Motion, Levine “moves the Court to reopen this case and to

reconsider [his] request to transfer [the] action to the United States District Court

for the Northern District of Texas.” However, on October 12, 2020, Levine

informed the Court that he had refiled the action in that same court, and the matter
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is pending there. Levine nevertheless requested that the Court still consider his

Motion and transfer the case so “it may be consolidated with the newly filed

action.”

      In light of Levine’s refiling of the matter in Texas, the Court DENIES his

Motion (ECF No. 43) as moot. The Court sees no purpose in reopening a

dismissed case to consider a motion to transfer where the plaintiff has already

refiled the case in the jurisdiction to which transfer is requested.

      SO ORDERED this 11th day of January, 2021.




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